                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:11-00082
                                                    )      Judge Trauger
                                                    )
[1] TRAVIS LYNN GENTRY                              )

                                           ORDER

       It is hereby ORDERED that, pursuant to the request of defendant Gentry’s counsel,

Barry Tidwell, the Clerk shall file under seal Mr. Tidwell’s notes from the jury selection

process conducted on October 23, 2012.

       It is so ORDERED.

       ENTER this 25th day of October 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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